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                  10
                     Attorneys for Defendant, City of Wasco
                  11
                  12
                  13                                 UNITED STATES DISTRICT COURT
                  14                     EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
                  15
                           ROGER McINTOSH,                                    Case No. 1:07-CV-01080-LJO-GSA
                  16
                                                Plaintiff,                    AMENDED JOINT CASE
                  17                                                          MANAGEMENT CONFERENCE
                           v.                                                 STATEMENT AND FEDERAL RULE OF
                  18                                                          CIVIL PROCEDURE, RULE 26(f)
                           NORTHERN CALIFORNIA UNIVERSAL                      REPORT
                  19       ENTERPRISES COMPANY, et al,
                                                                              The Honorable Lawrence J. O’Neill
                  20                            Defendants.
                                                                           Date: August 7, 2008
                  21                                                       Time: 8:30 a.m.
                                                                           Dept: 4
                  22                                                       Trial Date:
                                       Pursuant to Federal Rule of Civil Procedure, Rule 26(f) and Local Civil Rules,
                  23
                          Rule 16-281, plaintiff Roger McIntosh, Defendants Northern California Universal Enterprises
                  24
                          Company and Lotus Developments, and City of Wasco respectfully submit their Joint Case
                  25
                          Management Conference Statement and Rule 26(f) Report.
                  26
                                       1.     Jurisdiction and Venue
                  27
                                       This court has subject matter jurisdiction over the claims in this action pursuant to
                  28
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                    1 28 U.S.C. §1331, 28 U.S.C. §§ 1338(a) - (b) and 28 U.S.C. § 1367. Venue in this judicial district
                    2 is also proper under 28 U.S.C. §1391(b). Neither party disputes either jurisdiction or venue.
                    3                 2.     Jury – Non-jury
                    4                 Both parties are seeking, and neither party is contesting a trial by jury
                    5                 3.     Undisputed Facts
                    6                 Roger McIntosh, dba McIntosh & Associates, ("McIntosh") initiated a copyright
                    7 infringement suit against Northern California Universal Enterprises Company for infringement of
                    8 a tentative map and its corresponding plans ("5472 Map.") that he created in or about 1992 for the
                    9 Valley Rose Estates subdivision ("Valley Rose") also known as Tract No. 5472 in the City of Wasco.
                  10 ("Wasco") The 5472 Map was created by Mr. McIntosh for a previous developer, Legacy Group,
                  11 which had planned the Valley Rose Estates subdivision and with Wasco’s approval. The 5472 Map
                  12 was based on and referred to a number of plans for various components of the subdivision which
                  13 included a subdivision layout, grading plans, sewer plans, wall plans, landscaping plans, and street
                  14 plans.
                  15                  The development of Valley Rose was detailed between Wasco and Legacy Group in
                  16 a Development Agreement they both signed on November 3,1992.
                  17                  In 1993, Wasco approved the 5472 Map. Thereafter, the Valley Rose subdivision was
                  18 almost completely improved according to McIntosh’s 5472 Map in the year following its approval.
                  19 Unfortunately, and in 1994, the development of Valley Rose was halted because of the Legacy
                  20 Group’s inability to further finance the Valley Rose project. Wasco then purchased the subdivision
                  21 property at a tax sale in or about 1994.
                  22                  In 2004, Northern California Universal Enterprises Company and Lotus
                  23 Developments, LP ("NCUE") purchased the subdivision from Wasco. Joseph Wu, the founder and
                  24 head of NCUE, contacted McIntosh and asked McIntosh for the cost to do an as-built plan. NCUE
                  25 refused to pay the amount requested by McIntosh and instead hired an alternate engineer, DeWalt
                  26 Engineering, ("DeWalt") to create a new tentative map for the same property and Wasco gave it a
                  27 new Tract No. 6451.
                  28                  New Tentative Map 6451 by DeWalt was similar to the 5472 Map as to the design
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                    1 of the subdivision and including the same subdivision layout and design. The 6451 Tentative Map
                    2 was eventually approved by the new surveyor, Jeffrey Gutierrez of Dewalt in May of 2006, Wasco
                    3 City Planning Director, Keith Woodcock, in March of2007, and City Engineer Gerald Helt, in June
                    4 of 2008. In each of their statements, they certified the "Revised" Tentative and Final Maps created
                    5 by DeWalt were "substantially the same."
                    6                 A copyright for the 5472 Map was filed on February 22, 2007 in the United States
                    7 Copyright Office, Reg. No. VAU721-180.
                    8                 In accordance with Wasco city guidelines, the development for tract no. 6451 was
                    9 approved by a development agreement between NCUE and Wasco in February of 2007. A final map
                  10 for tract no. 6451 was approved by Wasco on March 6, 2007 and sent to the City Clerk for
                  11 endorsement.
                  12                  4.      Disputed Factual Issues:
                  13                  All works created by McIntosh for the 5472 Map are copyrighted and protected
                  14 works. Pursuant to its 1992 Consultant Agreement with McIntosh, Legacy Group was authorized
                  15 to use the copyrighted plans only on several conditions: Use of the plans was only for the project
                  16 outlined in the 1992 development agreement between Legacy Group and Wasco; use of the plans
                  17 was for Legacy Group’s use only; and, any additional use for different projects was prohibited.
                  18                  The development agreement between Wasco and Legacy Group was a private
                  19 development by Legacy Group and was not a public undertaking by Wasco. Further, section 4.1 of
                  20 the Development Agreement conditioned the development on all improvements being completed
                  21 by 2002 or else the Development Agreement would expire. Additionally, section 6.1.6 specifically
                  22 stated that subsequent approvals necessary to develop the plan were contingent on "timely approval"
                  23 by Wasco.
                  24                  The City of Wasco consented to McIntosh as a consultant engineer for the Valley
                  25 Rose project in §2.15 of the 1992 Development Agreement. It is nowhere stated in the Development
                  26 Agreement that use of the plans extended beyond the use outlined in the 1992 Development
                  27 Agreement or that McIntosh gave any consent for the Defendant’s or Wasco’s use of the copyrighted
                  28 plans.
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                    1                 During the time between the Valley Rose purchase by Wasco until 2004, the Valley
                    2 Rose subdivision sat dormant and was the subject of much litigation. Further, the 5472 Map expired
                    3 on May 11, 2001, and the 1992 development Agreement formally expired in 2002 without extension,
                    4 pursuant to provision §4.2.
                    5                 When Joseph Wu asked McIntosh what it would cost to complete the remaining
                    6 infrastructure according to the 5472 Map, McIntosh conditioned future use on payment for what he
                    7 believed was owed (approximately $360,000) equal to the value of the 5472 Map’s plans. This was
                    8 based on the costs saved by NCUE and WASCO since neither Wasco nor NCUE would have to pay
                    9 for a new infrastructure or new plans and could base future development on what was already almost
                  10 developed on the Valley Rose property and which had already gone through numerous meetings and
                  11 conditions for approval by Wasco. Having to start over could potentially run in the millions of
                  12 dollars for one or both parties.
                  13                  New tract No. 6451 and its corresponding maps, incorporated virtually the same
                  14 dimensions and references as the 5472 Map.
                  15                  5.     Disputed Evidentiary Issues:
                  16                         Not applicable at this time.
                  17                  6.     Special Factual Information in Certain Actions:
                  18                         Not applicable.
                  19                  7.     Relief Sought:
                  20                         a).     Plaintiff:
                  21                                 •        A declaration of willful infringement;
                  22                                 •        Injunctive relief against defendants and all persons acting in
                  23                                          concert or participation with them or persons acting or
                  24                                          purporting to act on their behalf, directing defendants to cease
                  25                                          and desist from infringing plaintiff’s copyright, the
                  26                                          destruction of all copies of the copyrighted plans and all other
                  27                                          steps reasonably necessary to remove any structures or design
                  28                                          elements that had been copied from the plans or built based
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                    1                                      on the plans;
                    2                               •      Impounding any copies of the plans and any other materials
                    3                                      derived from the copyrighted plans in whole or in part;
                    4                               •      A compliance report;
                    5                               •      Monetary damages in an amount equal to the actual damages
                    6                                      suffered by McIntosh as a result of the infringement and any
                    7                                      profits earned by defendants from the creation and
                    8                                      commercial exploitation of the copied plans;
                    9                               •      Costs of suit;
                  10                        b)      Defendant:
                  11                                •      Costs of Suit.
                  12                 8.     Relevant Points of Law:
                  13                        a)      Technical drawings as copyrightable subject matter. 17 U.S.C. §§101,
                  14 102(a)(5); Del Madera Properties v. Rhodes and Gardner, 637 F.Supp. 262 (N.D. Cal. 1985); and
                  15 Del Madera Properties v. Rhodes and Gardner; 820 F.2d 973 (9th Cir. 1987).
                  16                        b)      Direct evidence of copyright Infringement. MacMillan Company v.
                  17 I.V.O.W Corp., 495 F.Supp. 1134, (D.C.Vt. 1980)
                  18                        c)      Indirect evidence of copyright Infringement. Lanard Toys v. Novelty,
                  19 511 F.Supp.2d 1020 (C.D. Cal., 2007); Smith v. Jackson, 84 F.3d 1213 (9th Cir. 1996); Litchfield
                  20 v . Fielder, 736 F.2d 1352, 1357 (9th Cir., 1984)
                  21                        d)      Implied license for copyrights. 17 U.S.C. §201; Netbula, LLC v.
                  22 BindView Development Corp, 516 F.Supp.2d 1137 (N.D. Cal., 2007); John G. Danielson v.
                  23 Winchester-Conant Properties, Inc. 322 F.3d 26 (1st Cir., 2003)
                  24                        e)      "Shop Rights." United States v. Dubilier Condenser Corp., 289 U.S.
                  25 178, 188, 53 S.Ct. 554, 558, 77 L.Ed. 1114 (1933).
                  26                        f)      Standard for "Independent Creation" of Copyright. Hollywood
                  27 Screentest of America, Inc. v. NBC Universal, Inc.,(2007) 151 Cal.App.4th 631.
                  28                        g)      Merger doctrine of copyright.
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                    1                         h)      Measure of damages. 17 U.S.C. §504(a); Del Madera Properties v.
                    2 Rhodes & Gardner, 820 F.2d 973 (9th Cir. 1987).
                    3                         I)      Derivative Works, 170 S.C. §§ 101, 106(2); Stewart v. Abend 495
                    4 U.S. 207, 223; Batjac Productions, Inc. v. Goodtimes Home Video, 160 F.3d 1223 (9th 1998).
                    5                  9.     Abandoned Issues:
                    6                         Not applicable.
                    7                  10.    Witnesses: The following is a list of names and addresses of all known,
                    8 prospective witnesses, whether offered in person or by deposition or interrogatory, designating those
                    9 who are expert witnesses.
                  10                   Greg Black
                                       Jeffrey A. Gutierrez
                  11                   (Persons Most knowledgeable)
                                       DeWalt Corporation
                  12                   1930 22nd Street
                                       Bakersfield, California 93301
                  13                   (661) 323-4600
                  14                   (Persons most knowledgeable)
                                       The Legacy Group, L.P.
                  15                   325 Robinson Street
                                       Bakersfield, CA 93305
                  16
                                       Gerald F. Helt
                  17                   (Persons Most knowledgeable)
                                       Helt Engineering
                  18                   2930 Union Avenue
                                       Bakersfield, California 93305
                  19                   (661) 323-6045
                  20 / / /
                  21 / / /
                  22 / / /
                                       Darrell Souza
                  23                   Sperry Van Ness
                                       5760 American Avenue, Suite A
                  24                   Modesto, California 95356
                                       (209) 576-7305
                  25
                                       Bob Wren (Wasco City Employee)
                  26                   Alan J. Peake (Attorney for the City of Wasco)
                                       King Leonard (Planning Director
                  27                   Dennis McNamara (Planning Director)
                                       Larry Pennell (City Manager)
                  28                   Marty Jones (Public Works Director)
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                    1                   Mitch Maxey (Water Department Manager)
                                        Mike Jones (Public Works Inspector II)
                    2                   (Persons Most knowledgeable)
                                        City of Wasco
                    3                   746 8th Street
                                        Wasco, California 93280
                    4                   (661) 758-7200
                    5                   Keith Woodcock
                                        Community Development Director
                    6                   City of Delano
                                        1015 11th Avenue
                    7                   Delano, California 93215
                                        (661) 721-3340
                    8
                                        David See
                    9                   (Persons Most knowledgeable)
                                        See’s Consulting & Testing
                  10                    352 West Bedford, # 112
                                        Fresno, California 93711
                  11                    (559) 435-3444
                  12                    Joe Wu
                                        Chris Oliveras
                  13                    Jess Marimla
                                        (Persons Most knowledgeable)
                  14                    Northern California Universal Enterprises, Inc.
                                        300-D Turlock Street
                  15                    Turlock, California 95380
                                        (209) 669-0606
                  16
                                        Terry W. Schroepfer, P.E.
                  17                    Quad Knopf,
                                        5500Ming Avenue, Suite 410
                  18                    Bakersfield, California 93309
                                        (661) 835-8300
                  19
                                        11.     Exhibits – Schedules and Summaries:
                  20
                                                Exhibits have been exchanged pursuant to Rule 26(f).
                  21
                  22 / / /
                                        12.     Discovery Documents:
                  23
                                                To be determined subsequent to or contemporaneous with deposition
                  24
                          testimony.
                  25
                            d. Expert disclosure and deposition pursuant to statute relative to the trial date.
                  26
                                        13.     Further Discovery or Motions:
                  27
                                                a)      Plaintiff - Rule 56(b)
                  28
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                    1                         b)       Defendant - Rule 15 Motion to Amend Pleadings to Include Additional
                    2 Affirmative Defenses.
                    3                 14.     Stipulations:
                    4                         After meeting and conferring, the parties have agreed on a proposed
                    5 deposition and trial schedule:
                    6                         Depositions
                    7                         a)       Deposition of Mr. McIntosh and Mr. Wu between August 15 and
                    8 October 30, 2008.
                    9                         b)       Depositions of other presently known witnesses between August 30
                  10 and February 28, 2009.
                  11                          c)       Depositions of newly discovered witnesses completed by February 28,
                  12 2009.
                  13                          Other
                  14                          a)       Motion Filing Cutoff ,       March 1, 2009
                  15                          b)       Pre-Trial Conference,        May 1, 2009
                  16                          c)       Trial Date,                  June 1, 2009
                  17                  15.     Amendments – Dismissals:
                  18                          Not applicable at this time.
                  19                  16.     Settlement Negotiations:
                  20                  All parties are agreeable to VDRP pursuant to L.R. 16-271 et seq.. All parties agree
                  21 to select from one of three Neutrals provided by this Court and with the VDRP to be performed in
                  22 accordance with the attached Stipulation and Order for VDRP referral.
                  23                  17.     Agreed Statements:
                  24                          Not applicable.
                  25                  18.     Separate Trial of Issues:
                  26                          Not applicable.
                  27                  19.     Impartial Experts – Limitation of Experts:
                  28                          Plaintiff - Expert as to value of creating copyrighted plans for developer and
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                    1 other potential defendants and the profits derived therefrom.
                    2                        Plaintiff / Defendant (City of Wasco) - Expert as to custom and practice of
                    3 municipal procedures for developing maps and plans.
                    4                 20.    Attorney Fees:
                    5                 Both parties are seeking attorney’s fees under 37 U.S.C. §505; Fogerty v. Fantasy,
                    6 510 U.S. 517 (1994).
                    7                 21.    Trial Exhibits:
                    8                        Not applicable at this time.
                    9                 22.    Miscellaneous:
                  10                         Not applicable at this time.
                  11 DATED: August 1, 2008                     BORTON PETRINI, LLP
                  12
                  13                                           By            /s/James J. Braze
                                                                James J. Braze, Esq., Attorneys for Plaintiff Roger McIntosh
                  14
                  15 DATED: August 1, 2008                     GARCIA CALDERON RUIZ, LLP
                  16
                  17                                           By       /s/Eva Plaza (as authorized on 8/1/08)
                                                                    Eva Plaza, Attorneys for Defendant, City of Wasco
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                    1                             PROOF OF SERVICE PER (FRCP 5(B)(2)(E)
                    2 STATE OF CALIFORNIA, COUNTY OF KERN
                    3                  I, Connie D. Seaton , declare:
                    4                  I am a citizen of the United States. I am employed in the County of Kern, State of
                                California. I am over the age of 18 and not a party to the within action; my business address
                    5           is 1600 Truxtun Avenue, Bakersfield, California 93301.
                    6           On August 1, 2008, I served the foregoing document described as AMENDED JOINT
                                CASE MANAGEMENT CONFERENCE STATEMENT AND FEDERAL RULE OF
                    7           CIVIL PROCEDURE, RULE 26(f) REPORT on the other parties in this action as follows:
                    8
                    9           Mr. Steven John Hassing          Attorneys for Defendants Northern
                                Law Offices of Steven J. Hassing        California Universal Enterprises Company
                  10            425 Calabria Court               and Lotus Developments
                                Roseville, CA 95747              BUS: 916/677-1776
                  11                                             FAX: 916/677-1770
                                email address: stevenhassing@yahoo.com
                  12
                                Chaka Okadigbo                          Attorneys for Defendant, City of Wasco
                  13            Garcia Calderon Ruiz, LLP
                                500 South Grand Avenue
                  14            Suite 1100                              Tel: 213/347-0210
                                Los Angeles, CA 90071                   Fax: 213-347-0216
                  15
                                email address: cokadigbo@gcrlegal.com
                  16
                             BY ELECTRONIC SERVICE: Pursuant to Fed. R. Civ. P. 5(b)(2)(E) and Local Court
                  17 Rule(s), the foregoing document will be served by the court via CM/ECF.. Pursuant to the CM/ECF
                     docket for this case proceeding the following person(s) are on the Electronic Mail Notice List to
                  18 receive ECF transmission at the email address(es) indicated below:
                  19
                                       Executed on August 1, 2008, at Bakersfield, California.
                  20
                                      I declare that I am employed in the office of a member of the bar of this court at
                  21            whose direction the service was made.
                  22
                  23                   Connie D. Seaton                                 /s/ Connie D. Seaton
                                      Type or Print Name                                         Signature
                  24
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                  26
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